       Case 2:15-cv-05403-SM-DEK Document 1 Filed 10/22/15 Page 1 of 6




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

MERIAL COLEMAN              *
         Plaintiff          *                                CASE NO.
                            *
VERSUS                      *                                JUDGE
                            *
DOLGENCORP, LLC             *                                MAGISTRATE
        Defendant           *
                            *                                A JURY TRIAL IS DEMANDED
*****************************

                                    NOTICE OF REMOVAL


TO:    The Honorable Judges
       of the United States District Court
       for the Eastern District of Louisiana

       Defendant, DG Louisiana, LLC (incorrectly styled “Dolgencorp, LLC”), respectfully

submits this Notice of Removal of the above-styled matter, and as cause therefore shows as

follows:

                                                 1.

       On the 26th day of August, 2015, the attached Petition was filed in the 24th Judicial

District Court for the Parish of Jefferson, State of Louisiana, entitled Merial Coleman vs.

Dolgencorp, LLC, bearing case number 752-967, Division “J”.1




       1
           See Exhibit “A” (State Court Record), see Petition for Damages.
        Case 2:15-cv-05403-SM-DEK Document 1 Filed 10/22/15 Page 2 of 6




                                                2.

       Plaintiff’s Petition alleges personal injuries as a result of an incident on or about August

28, 2014, at the Dollar General store located at 7123 Veterans Memorial Boulevard in Metairie,

Louisiana, where Plaintiff alleges she “proceeded to slip and fall on fluid, water, and/or cleaning

liquid negligently placed or otherwise mopped onto the floor by an employee [of Dollar

General.”2 Plaintiff claims she is entitled to damages for past, present, and future “pain and

suffering, mental anguish, loss of life’s pleasures and disabilities, medical and miscellaneous

expenses, and wage loss and loss of earning capacity.”3

                                                3.

       Plaintiff’s Petition violated La. C.C.P. article 893 by failing to include a general

allegation that the value of the claim exceeded the amount required for the right to a jury trial

($50,000) or the lack of jurisdiction of federal courts ($75,000). Plaintiff’s Petition for Damages

was served on defendant on September 23, 2015.4

                                                4.

       Prior to filing the Petition, plaintiff’s counsel submitted a settlement demand for

defendant’s “FULL LIABILITY POLICY LIMITS.”5                   The settlement demand included

medical records and bills from LA Health Solutions and OpenSided MRI. On January 29, 2015,

orthopedist, Dr. Marco Rodriguez, examined plaintiff and recommended lumbar ESIs and

       2
         Id.
       3
         Id., see Petition for Damages ¶ 13.
       4
         Id., see Citation.
       5
          See Exhibit B, plaintiff’s settlement demand with medicals. (emphasis in original)
         Case 2:15-cv-05403-SM-DEK Document 1 Filed 10/22/15 Page 3 of 6




considered her to be a candidate for medial branch blocks.6 On that same date, Dr. Rodriguez

recommended a cervical MRI to determine if the radicular symptoms in plaintiff’s left arm were

the result of nerve decompression in her neck.7 Plaintiff underwent a cervical MRI on April 29,

2015, which, according to Dr. Thompson Dietz, revealed a C4-5 disc protrusion/spur complex

and foraminal stenosis.8 Based on the records produced in the settlement demand, plaintiff

continued to complain of neck and back pain and radicular symptoms in her low back as of June

2015.9

                                                 5.

             Pursuant to 28 U.S.C.A. 1446(b)(1), “[t]he notice of removal of a civil action or

proceeding shall be filed within 30 days after the receipt by the defendant, though service or

otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such

action or proceeding is based, or within 30 days after the service of summons upon the defendant

if such initial pleading has then been filed in court and is not required to be served on the

defendant, whichever period is shorter.” Here, removal is timely because it was filed within 30

days of the September 23, 2015, service of the Petition for Damages setting forth the claim for

relief upon which plaintiff’s action is based.




         6
             Id.
         7
             Id.
         8
             Id.
         9
             Id.
        Case 2:15-cv-05403-SM-DEK Document 1 Filed 10/22/15 Page 4 of 6




                                                   6.

       DG Louisiana, LLC, desires to have this matter removed from the docket of the 24th

Judicial District Court, Parish of Jefferson, State of Louisiana pursuant to the provisions of 28

U.S.C. § 1441 et seq. and 28 U.S.C. § 1446 et seq.

                                                   7.

       This Court has original jurisdiction of this action under 28 U.S.C. § 1332, and this action

is, therefore, removable to this court on the basis that:

       A.        The properly joined parties to this action are completely diverse:

                 1.     Plaintiff, Merial Coleman, is a person of full age of majority and a

                        domiciliary of the State of Louisiana, Parish of Jefferson;10 and

                 2.     Defendant, DG Louisiana, LLC, is a single member limited liability

                        company whose sole member is Dolgencorp, LLC. Dolgencorp, LLC, is a

                        single member limited liability company whose sole member is Dollar

                        General Corporation, which is incorporated and has its principal place of

                        business in Tennessee.

       B.        The amount in controversy herein exceeds the sum of $75,000.00, exclusive of

                 interest and costs. Plaintiff claims that she is entitled to damages for past, present,

                 and future “pain and suffering, mental anguish, loss of life’s pleasures and


       10
            See Exhibit “A” (State Court Record), see Petition for Damages.
Case 2:15-cv-05403-SM-DEK Document 1 Filed 10/22/15 Page 5 of 6




          disabilities, medical and miscellaneous expenses, and wage loss and loss of

          earning capacity.”11 Furthermore, on January 29, 2015, orthopedist, Dr. Marco

          Rodriguez, recommended lumbar ESIs and considered plaintiff to be a candidate

          for medial branch blocks.12 In addition, Plaintiff underwent a cervical MRI on

          April 29, 2015, which, according to Dr. Thompson Dietz, revealed a C4-5 disc

          protrusion/spur complex and foraminal stenosis.13 Finally, Plaintiff submitted a

          settlement demand for defendant’s “FULL LIABILITY POLICY LIMITS.”14

          Defendant’s self-insured retention limit, alone, is well in excess of $100,000.

          Based on the facts alleged in plaintiff’s Petition and Settlement Demand Package,

          it is clear that Plaintiff alleges injuries and damages that if true, which Defendants

          deny, place an amount in controversy that exceeds the sum of value of

          $75,000.00, exclusive of interests or costs. Donaldson v. Hudson Ins. Co., 116

          So.3d 46 (La. App. 4 Cir. 2013)($125,000 awarded to plaintiff with lumbar and

          cervical disc herniations with recommended injection therapies and future care

          required); Aguillard v. Meiners, 857 So.2d 1034 (La. App. 5 Cir. 2003)($125,000

          awarded for aggravation of asymptomatic disc herniations in low back, restricted

          lifestyle and future medical treatment required); Vega v. State Farm Mutual Auto.




11
     Id., see Petition for Damages ¶ 13.
12
     Id.
13
     Id.
14
     See Exhibit B, plaintiff’s settlement demand with medicals. (emphasis in original)
         Case 2:15-cv-05403-SM-DEK Document 1 Filed 10/22/15 Page 6 of 6




                 Ins. Co., 996 So.2d 1164 (La. App. 5 Cir. 2008)($87,500 awarded for aggravation

                 of shoulder injury and disc bulges in cervical spine).

                                                  8.

                 DG Louisiana, LLC, prays for a jury trial on all issues.

        WHEREFORE, removing Defendant, DG Louisiana, LLC, prays that the above action

now pending in the 24th Judicial District Court for the Parish of Jefferson, State of Louisiana, be

removed therefrom to this Honorable Court. DG Louisiana, LLC, additionally prays for a jury

trial on all issues.

                                        Respectfully submitted,

                                         /s/ Trevor C. Davies
                                        PETER J. WANEK (23353)
                                        TREVOR C. DAVIES (32846)
                                        KATHRYN T. TREW (34116)
                                        McCRANIE, SISTRUNK, ANZELMO,
                                          HARDY, McDANIEL & WELCH, LLC
                                        909 Poydras St., Ste. 1000
                                        New Orleans, LA 70112
                                        Telephone: (504) 831-0946
                                        Facsimile: (800) 977-8810
                                        ATTORNEYS FOR DG Louisiana, LLC


                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing pleading has been served upon all
counsel of record by placing same in the U.S. Mail, postage prepaid and properly addressed this
22nd day of October, 2015.

                                                /s/ Trevor C. Davies
